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                      IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                                  DIVISION OF ST. CROIX

 Cyril Mitchell,                                             1:21-cv-00179-WAL-GWC

         Plaintiff,                                          JURY TRIAL DEMANDED

 v.

 Glencore Ltd. and Cosmogony II, Inc.,

         Defendants.



                                 SECOND AMENDED COMPLAINT

        Plaintiff Cyril Mitchell brings this action under the laws of the United States Virgin Islands,

demands a trial by jury, and makes the following allegations based on information, belief, and

investigation of counsel, except those allegations that pertain to Plaintiff, which are based on personal

knowledge:

                                   PARTIES, JURISDICTION, AND VENUE

        1.         Plaintiff is a citizen and resident of St. Croix, United States Virgin Islands.

        2.         Defendant Glencore Ltd. is a Swiss foreign business corporation, having its principle

place of business in New York.

        3.         Defendant Cosmogony II, Inc. (“Cosmogony”) is the successor-in-interest to General

Engineering Corporation. Cosmogony is a U.S. Virgin Islands company, having its principle place of

business in the U.S. Virgin Islands. General Engineering Corporation merged with and into U&W

Industrial Supply, Inc. (“U&W”), a U.S. Virgin Islands corporation. U&W later changed its name to

Cosmogony. General Engineering Corporation and Cosmogony are hereinafter referred to collectively

as “GEC”.

        4.         This Court has subject matter jurisdiction pursuant to 4 V.I.C. § 76.
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        5.      Venue is this District is proper pursuant to 4 V.I.C. § 78 because the conduct

complained of in this Complaint was carried out in substantial part within this judicial division.

                               FACTUAL ALLEGATIONS RE: THE PLAINTIFF

        6.      Plaintiff worked at the Alumina Refinery from 1990 to 1995. During his work at the

Alumina Refinery, Plaintiff worked as a process operator.

        7.      In the course of his employment at the Alumina Refinery, Plaintiff was exposed to

bauxite ore dusts (and their consituents and waste products), caustic soda, asbestos-containg materials

(“ACM”), and alumina dust.

        8.      During his employments at the Alumina Refinery, Plaintiff was not provided adequate

personal protective equipement to guard against the inhalation of toxic substances.

        9.      Plaintiff suffers from mixed-dust pneumoconiosis, which became evident 12/8/2018.

        10.     This disease is evidenced by a chest x-ray (read by a competent NIOSH-certified B-

reader) a pulmonary function test (PFT), a physical examination, and a discussion and consideration

of Plaintiff’s work history, among other things.

        11.     Plaintiff’s lung disease and injury are the direct and proximate result of Plaintiff’s

repeated unprotected exposures to various toxic substances during his work at the Alumina Refinery.

        12.     Plaintiff’s lung disease is characterized by shortness of breath, diminished lung

capacity, and other respiratory ailments. His injuries are current and will continue for the rest of his

life. He seeks recompense for his pain and suffering; his medical bills and anticipated medical needs

in the future; and the diminution in quality and enjoyment of his life. And he fears the progression of

his respiratory symptoms and reasonably fears that he may develop cancer as a result of persistent

exposure to toxic materials and substances.

        13.     Plaintiff also seeks punitive damages, as Defendants’ actions and inactions, separately

considered, were outrageous because of a reckless indifference to Plaintiff’s rights.


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                   FACTUAL ALLEGATIONS VIS-À-VIS INDUSTRIAL EXPOSURES

        14.     The U.S. Federal Government has long regulated the limits of industrial exposure to

minerals, metals, chemicals, and other agents in the workplace. And the U.S. Virgin Islands has long

regulated emisisons of fugitive particulate matter.

        15.     Industry must take all reasonable steps to guard against the release of toxic dusts

through sound engineering practices, procedures, and controls. They must conduct air and worker

monitoring to assess the concentration of particulate matter.

        16.     Because engineering practices, procedures, and controls may not eliminate and/or

reduce all dust generation, persons in industrial settings that could be exposed to excessive dust levels

must be given proper, appropriate, and timely warnings, training, and personal protective equipment,

including respiratory protection.

                       FACTUAL ALLEGATIONS VIS-À-VIS THE ALUMINA REFINERY

        17.     An Alumina Refinery operated on St. Croix from the early- to mid-1960s to 2000. The

Alumina Refinery refined bauxite ore into alumina (aluminum oxide).

        18.     Virgin Islands Alumina Company (“VIALCO”) purchased the Alumina Refinery in

1989. At that time and at all relevant times thereafter, VIALCO was the wholly-owned subsidiary of

Glencore Ltd. It operated the Alumina Refinery from 1990 to 1995. Prior to operating the Alumina

Refinery, VIALCO had not owned or operated any other alumina refinery. From 1990 to 1995,

Glencore supplied VIALCO and the Alumina Refinery with bauxite ore.

        19.     During the years that VIALCO owned and/or operated the Alumina Refinery, GEC

was contracted to provide construction and maintenance services.

        20.     Bauxite is a naturally occurring material comprised of hydrated aluminum oxides and

aluminosilicates, iron oxides, titanium dioxide, silica, beryllium, and mixtures of other materials;

including, quartz, clay minerals, gibbsite [Al(OH)], boehmite [ALO(OH)], and diaspore [ALO(OH)].


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Bauxite is the principle ore of alumina (AL2O3).

       21.     During the refining process, bauxite ore is, among other activities, crushed and ground,

which continuously creates large amounts of dust. In his work at the Alumina Refinery, Plaintiff was

in constant contact with, and exposed to, this unrefined bauxite dust and its constituents.

       22.     Caustic soda is added to the ground ore, some of which becomes airborne. In his work

at the Alumina Refinery, Plaintiff was in frequent proximity to and inhaled caustic soda dust.

       23.     The refinement process involves many hot processes that require the maintenance of

high temperatures. To that end, the Alumina Refinery used ACM to insulate vessels, machinery, and

pipe. In his work at the Alumina Refinery, Plaintiff was in frequent proximity to and inhaled ACM.

       24.     The finished alumina product is a white/silver powder. The alumina is highly

susceptible to becoming airborne because of the prevailing trade winds. In his work at the Alumina

Refinery, Plaintiff was in frequent proximity to and inhaled alumina dust.

       25.     The refinement process also generates a great deal of toxic industrial waste sometimes

called “red mud”. The chemical composition may include iron (III) oxide (Fe2O3), aluminum oxide

(Al2O3), silicon dioxide (SiO2), copper (II) oxide (CuO), sodium oxide (Na2O), titanium dioxide

(TiO2), potassium oxide (K2O), selenium trioxide (Se2O3), and vanadium pentoxide (V2O5), arsenic

(As), lead (Pb), mercury (Hg), nickel (Ni), chromium (Cr), cadmium (Cd), as well as radioactive

uranium and thorium. When red mud dries, it becomes chalky and airborne. In his work at the

Alumina Refinery, Plaintiff was in frequent proximity to and inhaled red mud dust.

       26.     Alumina refiners have long understood the dangers posed by exposure to bauxite ore

dust, its constituent compenents and waste products (including red mud), caustic soda, ACM, and

refined alumina. Research shows that exposure to these elements (or mixtures thereof) in industrial

settings can cause serious medical problems, including decreased FEV1, radiographic abnormalities,

increased opacities, upper and lower respiratory symptoms (shortness of breath, wheeze, chest


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tightness, rhinitis), pulmonary fibrosis, mixed dust pneumoconiosis, interstitial fibrosis, fibrotic

lesions, parenchymal changes, lung cancer, and aluminosis.

                           CAUSES OF ACTION AGAINST GLENCORE LTD.

Count 1 – Chattel Known to be Dangerous for Intended Use

        27.     Plaintiff hereby realleges and incorporates by reference all previous paragraphs as if

fully set forth herein. Glencore is liable to Plaintiff under Section 388 of the Restatement (Second) of

Torts, which articulates a sound common law rule for the Virgin Islands.

        28.     Glencore supplied bauxite ore—a chattel—to the Aluminum Refinery for use from

1990 to 1995. It expect the Aluminum Refinery and Plaintiff to use the bauxite ore, as well as expect

that Plaintiff could be endangered by the probable uses of bauxite ore—namely, refinement.

        29.     Glencore knew or had reason to know that bauxite ore, bauxite dusts and its

constituents is dangerous or likely to be dangerous during the refinement process. It had no reason

to believe that the Aluminum Refinery or Plaintiff would realize the dangerous condition of bauxite

ore, bauxite dusts and its constituents. And it failed to exercise reasonable care to inform either the

Aluminum Refinery or Plaintiff of the dangerousness of bauxite ore, bauxite dusts and its constituents

or the facts which make bauxite ore, bauxite dusts and its constituents likely to be dangerous.

        30.     Plaintiff was harmed by the bauxite ore supplied by Glencore to the Aluminum

Refinery.

        31.     Glencore directly and proximately caused, and is legally responsible and liable for,

Plaintiff’s exposure to bauxite dusts and its constituents, as well as the harm and damages Plaintiff

sustained as a result of this exposure.

Count 2 – Chattel Unlikely to be Made Safe for Use




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       32.     Plaintiff hereby realleges and incorporates by reference all previous paragraphs as if

fully set forth herein. Glencore is liable to Plaintiff under Section 389 of the Restatement (Second) of

Torts, which articulates a sound common law rule for the Virgin Islands.

       33.     If Glencore provided warnings and MSDS sheets to the Aluminum Refinery, those

warnings and MSDS sheets went unheeded. Glencore knew or should have known that any warnings

and sheets it may have provided were not being communicated to the workforce at the Aluminum

Refinery.

       34.     Glencore knew or should have known that the bauxite ore was unlikely to be made

reasonably safe before being put to the use Glencore should expect it to be put—namely, refinement

into aluminum powder.

       35.     Plaintiff was a foreseeable user of the chattel, as well as endangered by the probable

use of the chattel. He was ignorant as to the dangerous character of bauxite ore, its hazardous

constitutents, and its waste products, and he was not contributorily negligent.

       36.     Glencore directly and proximately caused, and is legally responsible and liable for, the

harm and damages caused by Plaintiff’s exposure to bauxite ore, its hazardous constituents, its waste

products, and the refined alumina derived therefrom.

Count 3 – Chattel for Use by Person Known to be Incompetent

       37.     Plaintiff hereby realleges and incorporates by reference all previous paragraphs as if

fully set forth herein. Glencore is liable to Plaintiff under Section 390 of the Restatement (Second) of

Torts, which articulates a sound common law rule for the Virgin Islands.

       38.     Glencore knew or had reason to know that the owners and operators of the Alumina

Refinery were using the bauxite ore supplied by Glencore in a manner that involved an unreasonable

risk of physical harm to Plaintiff. It should have expected that Plaintiff would be endangered by the

use of bauxite ore at the Alumina Refinery.


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        39.     In particular, Glencore knew or had reason to know that the Alumina Refinery owners

and operators were incompetent. VIALCO had not previously owned or operated an alumina refinery

prior to 1990 when it began operations in St. Croix. It failed to implement the necessary engineering

controls to minimize worker exposure to bauxite, its constituent components, and waste products. It

lacked an adequate respiratory policy to guard against the inhalation of bauxite dust, its constituent

components, and waste products. It had a substandard safety department that was understaffed

and/or not properly staffed by personnel with the necessary background and experience. It and its

management failed to understand and/or was unconcerned with the dangers associated with bauxite

dust and its constituents inhalation. It failed to implement and/or implemented substandard air

monitoring or testing protocols to measure fugitive and/or bauxite dusts. And it failed to abide

applicable OSHA and/or MSHA regulations regarding handling and processing bauxite ore and/or

its constituent components and waste products.

        40.     Glencore directly and proximately caused, and is legally responsible and liable for, the

harm and damages caused by Plaintiff’s exposure to bauxite ore, its hazardous constituents, its waste

products, and the refined alumina derived therefrom.

Count 4 – Chattel Used to Supplier’s Business Purpose

        41.     Plaintiff hereby realleges and incorporates by reference all previous paragraphs as if

fully set forth herein. Glencore is liable to Plaintiff under Section 392 of the Restatement (Second) of

Torts, which articulates a sound common law rule for the Virgin Islands.

        42.     The Alumina Refinery served Glencore’s business purpose during the years of

VIALCO’s ownership and operation. At all relevant times, Glencore operated a multinational and

vertically-integrated alumina refinement portfolio, consisting of mining, shipping, refinement,

smelting, and marketing/selling. Those bauxite ore served Glencore’s business purposes because it

was integral part of the start-to-finish operation.


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        43.         The bauxite ore as ultimately supplied to the Alumina Refinery, where it was crushed,

ground, liquified, and disposed of. Glencore should have expected that Plaintiff and other employees

at the Alumina Refinery would be endangered by the probable use of the bauxite ore and bauxite

dusts, its hazardous constituents, its waste products, and the refined alumina derived therefrom.

        44.         Glencore failed to exercise reasonable care to make the bauxite ore safe for the use for

which it was supplied. It failed to exercise reasonable care to discover the dangerous condition or

chacter of the bauxite ore.it supplied. And it failed to inform Plaintiff or the other employees at the

Alumina Refinery of the discover the dangerous condition or chacter of the bauxite ore it supplied.

        45.         Glencore directly and proximately caused, and is legally responsible and liable for, the

harm and damages caused by Plaintiff’s exposure to bauxite ore, its hazardous constituents, its waste

products, and the refined alumina derived therefrom.

Count 5 – Negligent Undertaking

        46.         Plaintiff hereby realleges and incorporates by reference all previous paragraphs as if

fully set forth herein. Glencore is liable to Plaintiff under Section 324A of the Restatement (Second)

of Torts, which articulates a sound rule for the Virgin Islands.

        47.         Glencore undertook to render services to its subsidiary VIALCO. It should have

recognized the services it provided to VIALCO were necessary for the protection of Plaintiff, generally

or in particular.

        48.         Glencore failed to exercise reasonable care, which increased the risk of harm to

Plaintiff. It undertook to perform a duty owed by VIALCO to Plaintiff.

        49.         Plaintiff suffered harm because VIALCO relied on Glencore to fulfill its undertaking.

And he suffered harm because he relied on Glencore to fulfill its undertaking.




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        50.     Glencore directly and proximately caused, and is legally responsible and liable for, the

harm and damages caused by Plaintiff’s exposure to bauxite ore, its hazardous constituents, its waste

products, the refined alumina derived therefrom, caustic fumes, and asbestos.

           CAUSES OF ACTION AGAINST COSMOGONY II, INC. AS SUCCESSOR-IN-INTEREST TO
                             GENERAL ENGINEERING CORP.

Count 6 – Negligence

        51.     Plaintiff hereby realleges and incorporates by reference all previous paragraphs as if

fully set forth herein. GEC is liable to Plaintiff as it acted negligently.

        52.     GEC’s services installing, removing, and replacing ACM, which work resulted in the

release of asbestos fibers into the air.

        53.     GEC was negligent insofar as it failed to take adequate precautions to guard against

and warn of the consequences these releases. Among other things, GEC failed to adequately train its

employees on how to recognize and properly dispose of ACM. It failed to adequately warn its

employees and those in the vicinity of the dangers of ACM or regarding the use of appropriate PPE.

        54.     Further, GEC was negligent in its provision of maintenance work. It failed to

adequately maintain the various mechanical components at the Alumina Refinery. In particular, the

machinery used to convey and pulverize bauxite ore was constantly in poor working order, and as a

result, fugitive bauxite emissions were frequent.

        55.     Both instances of negligent presented forseeable risks of harm—namely, that Plaintiff,

his co-workers, and others would come into contact with and inhale an inordinate amount of ACM

and bauxite dust.

        56.     GEC owed a duty of reasonable care under the circumstances. In this specific case, its

duty was to perform its construction and maintenance duties with the due care necessary for a refinery

contractor, with the understanding that the materials at the Alumina Refinery were dangerous and



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required special precautions.

       57.     However, GEC violated its duty of reasonable care as detailed above.

       58.     GEC directly and proximately caused, and is legally responsible and liable for, the harm

and damages caused by Plaintiff’s exposure to bauxite ore, its hazardous constituents, its waste

products, and asbestos.

                                          JURY TRIAL DEMANDED

   59. Plaintiff demands a trial by jury, pursuant to 5 V.I.C. § 358 and Rule 38(b) of the Virgin Islands

       Rules Civil Procedure, of all issues so triable.

                                        REQUEST FOR RELIEF

       WHEREFORE, Plaintiff requests:

       a.      After trial by jury, he be awarded full monetary damages afforded by law;

       b.      After trial by jury, he be awarded punitive damages;

       c.      He be awarded pretrial interest from the date of the initial Complaint through final

judgment;

       d.      He be awarded his costs; and

       e.      The Court grant such additional relief as may be deemed just and proper.




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DATED:    April 29, 2021          Respectfully submitted,




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